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              Exhibit 55
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________

JANSSEN BIOTECH, INC. and
NEW YORK UNIVERSITY

                               Plaintiffs,                 Civil Action No. 1:15-cv-10698

        vs.

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and
HOSPIRA, INC.

                               Defendants.


                                             STIPULATION

        WHEREAS, Defendant Celltrion, Inc. submitted an abbreviated Biologic License

Application (“aBLA”) No. 125544 seeking permission to market a proposed biosimilar version

of Plaintiff Janssen Biotech, Inc.’s (“Janssen”) biological medicine Remicade (infliximab);

        WHEREAS, Janssen has sued Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc.,

and Hospira, Inc. (collectively, “Defendants”) for infringement of several patents based on the

submission of aBLA No. 125544 and to enforce the patent dispute resolution provisions of the

Biologic Price Competition and Innovation Act, 42 U.S.C. § 262(l);

        WHEREAS, Defendants have answered the complaint and have asserted defenses;

        WHEREAS, on April 8, 2015, Janssen filed a motion for partial summary judgment and

for a preliminary and permanent injunction (“PI Motion”) based on the contention that 42 U.S.C.

§ 262(l)(8)(A) prohibits Defendants from commercially marketing their biosimilar product in the

United States for 180 days after it is licensed;

        WHEREAS, Defendants opposed Janssen’s PI Motion;



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        WHEREAS, on February 10, 2016, the Court denied Janssen’s PI Motion without

prejudice, in light of the parties’ agreement that the pending appeal in Amgen Inc. et al v. Apotex,

Inc. et al, Docket No. 16-1308 (Fed. Cir.) (“Amgen v. Apotex”), was likely to affect the legal

disputes at issue in the PI Motion;

        WHEREAS, on April 5, 2016, Defendants’ biosimilar product was licensed for sale in the

United States by the U.S. Food & Drug Administration;

        WHEREAS, on July 5, 2016, the Federal Circuit issued its ruling in Amgen v. Apotex,

which affirmed the district court’s grant of a 180-day preliminary injunction;

        WHEREAS, the parties dispute whether the 180-day period extends through October 1,

2016, or through October 2, 2016;

        WHEREAS, the parties have agreed that it will not be necessary for the Court to resolve

this dispute, or for Janssen to file a Renewed 180-day PI Motion.

        NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED that:

        1.     Defendants agree not to sell in the United States their proposed biosimilar version

of Janssen’s Remicade for use by doctors or patients before October 3, 2016.

        2.     This stipulation is for purposes of this litigation only and should not be deemed an

admission by any party in any other litigation.



Dated: July 11, 2016                                Dated: July 11, 2016

/s/ Andrea L. Martin                                /s/ Alison C. Casey
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                    LOCAL RULE 5.2(b) CERTIFICATE OF SERVICE

        I certify that this document (filed through the ECF system) will be sent electronically to
the registered participants as identified in the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on July 11, 2016.

                                                             /s/ Alison C. Casey




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